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 1   DANIEL J. BRODERICK #89424
     Acting Federal Defender
 2   LEXI NEGIN, D.C. Bar #446153
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     TABITHA RENEE GILBERT
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 7
                           IN THE UNITED STATES DISTRICT COURT
 8
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,             )
11                                         ) NO. CR.S-06-046-WBS
                        Plaintiff,         )
12                                         )
            v.                             )
13                                         )       STIPULATION AND ORDER;
                                           )          EXCLUSION OF TIME
14                                         )
     TABITHA RENEE GILBERT, et al.         )
15                  Defendant.             ) Date: March 23, 2006
     _____________________________           Time: 2:00 p.m.
16                                           Judge: Hon. William B. Shubb

17          IT IS HEREBY STIPULATED by and between the parties hereto through

18   their respective counsel, MATTHEW STEGMAN, Assistant United States

19   Attorney, attorney for Plaintiff, LEXI NEGIN, Assistant Federal

20   Defender, attorney for Defendant, that the status conference hearing

21   date of February 23, 2006 shall be vacated and a status conference

22   scheduled for March 23, 2006 at 2:00 p.m.          The jury trial date of April

23   11, 2006 shall also be vacated.

24          This continuance is requested as defense counsel needs additional

25   time to review discovery with the defendant, to examine possible

26   defenses and to continue investigating the facts of the case.

27          Accordingly, all counsel and the defendant agree that time under

28   Stip and Order
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 1   the Speedy Trial Act from the date this stipulation is lodged, through
 2   March 23, 2006, should be excluded in computing the time within which
 3   trial must commence under the Speedy Trial Act, pursuant to Title 18
 4   U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
 5   DATED: February 22, 2006                        Respectfully submitted,
 6                                                   DANIEL J. BRODERICK
                                                     Acting Federal Public Defender
 7
 8
     DATED: February 22, 2006                        /s/ LEXI NEGIN
 9                                                   LEXI NEGIN
                                                     Assistant Federal Defender
10                                                   Attorney for Defendant
                                                     Tabitha Renee Gilbert
11
12                                                   /s/ CARL LARSON
                                                     CARL LARSON
13                                                   Attorney for Defendant
                                                     Paul Wesley Dempster
14
15                                                   /s/ MICHAEL LAWRENCE CHASTAIN
                                                     MICHAEL LAWRENCE CHASTAIN
16                                                   Attorney for Defendant
                                                     Halley Devyn Gilio
17
18                                                   McGREGOR SCOTT
                                                     United States Attorney
19
20
     DATED: February 22, 2006.                       /s/ LEXI NEGIN for
21                                                   MATTHEW STEGMAN
                                                     Assistant U.S. Attorney
22                                                   Attorney for Plaintiff
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     Stip and Order                            2
              Case 2:06-cr-00046-WBS Document 23 Filed 02/24/06 Page 3 of 3


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 2                                       O R D E R
 3          IT IS SO ORDERED.     Time is excluded and the hearing continued in
 4   the interests of justice pursuant to 18 U.S.C. § 3161 (H)(8)(B)(iv) and
 5   Local Code T4.
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 7   DATED: February 23, 2006
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     Stip and Order                            3
